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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
         Plaintiff,                           )
                                              )
v.                                            )       No. 4:18CR00810 HEA
                                              )
LACIA ALLEN,                                  )
                                              )
         Defendant.                           )

 GOVERNMENT’S RESPONSE TO DEFENDANT’S SENTENCING MEMORANDUM

         Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Tracy Lynn Berry, Assistant

United States Attorney for said District, and files its response to defendant’s sentencing

memorandum.

         The government submits that the imposition of a with-in the guideline sentence is

sufficient, but not greater than necessary, to comply with the sentencing objectives of Section

3553(a). The government submits that such a sentence is important in view of the nature and

circumstances of the offense and the defendant’s history and characteristics, the need to reflect the

seriousness of the offense, the need to provide just punishment for the offense, and the need to

protect the public from further crimes of the defendant.

         In view of defendant’s extensive criminal history and her engagement in additional

criminal conduct while on probation and supervised release, the government submits that a

guideline sentence is appropriate. The government also notes that defendant’s assertions that she

did not intend to defraud fly in the face of her guilty plea admissions and the facts underlying the
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conviction. This failure to minimize her criminal liability fully supports the imposition of a

guideline sentence.

       Based upon the aforementioned grounds, the government submits that a guideline sentence

is appropriate.

                                            Respectfully submitted,

                                            JEFFREY B. JENSEN
                                            United States Attorney

                                            s/ Tracy L. Berry________________
                                            TRACY LYNN BERRY, #014753 TN
                                            Assistant United States Attorney
                                            111 South 10th Street, Room 20.333
                                            St. Louis, Missouri 63102
                                            (314) 539-2200


                               CERTIFICATE OF SERVICE

     I, TRACY L. BERRY, Assistant United States Attorney for the Eastern District of Missouri,

hereby certify that a copy of the foregoing motion has been e-mailed to Aryka Moore, Esq.

     This 22nd day of July, 2019.

                                            s/ Tracy L. Berry___________________
                                            TRACY L. BERRY
                                            Assistant United States Attorney
